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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA                   )        Case No. 4:09CR3111
                                           )
                     Plaintiff,            )              ORDER
                                           )        TO WITHDRAW EXHIBITS
              vs.                          )        OR TO SHOW CAUSE WHY
                                           )        EXHIBITS SHOULD NOT BE
                                           )             DESTROYED
HECTOR N. CERVANTES RIVERA,                )
               Defendant.                  )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for defendant shall either

1) withdraw the following exhibits previously submitted in this matter within 14 calendar

days of the date of this order, or 2) show cause why the exhibits should not be destroyed:



         Exhibit numbers 101 and102 from Sentencing hearing held 8/03/2010



       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this 3rd day of November, 2010.



                                                    BY THE COURT:



                                                    s/ Warren K. Urbom

                                                    United States Senior District Judge
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